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                                                                    Friday, 28 September, 2018 05:24:09 PM
                                                                                Clerk, U.S. District Court, ILCD

                  IN THE UNITED STATES DISTRICT COURT FOR THE
                          CENTRAL DISTRICT OF ILLINOIS

 CURTIS LOVELACE,                                    )
 LOGAN LOVELACE, LINCOLN                             )
 LOVELACE, & CHRISTINE LOVELACE                      )
 on behalf of her minor son LARSON                   )       1:17-cv-01201-JES-JEH
 LOVELACE,                                           )
                                                     )
        Plaintiffs,                                  )
                                                     )
 v.                                                  )
                                                     )       JURY TRIAL DEMANDED
                                                     )
 DET. ADAM GIBSON, POLICE CHIEF                      )
                                                             Judge Myerscough
 ROBERT COPLEY, SGT. JOHN SUMMERS,                   )
 LT. DINA DREYER, DET. ANJANETTE                     )
 BISWELL, UNKNOWN QUINCY POLICE                      )        Mag. Judge Schanzle-Haskins
 OFFICERS, GARY FARHA, CORONER                       )
 JAMES KELLER, THE CITY OF QUINCY,                   )
 and COUNTY OF ADAMS                                 )
                                                     )
        Defendants.                                  )



                      JOINT MOTION FOR AN EXTENSION OF TIME
                           TO COMPLETE FACT DISCOVERY


       Now come Plaintiffs, Curtis Lovelace, Logan Lovelace, Lincoln Lovelace, & Christine

Lovelace on behalf of her minor son, Larson Lovelace, by and through their attorneys, LOEVY

& LOEVY; the City of Quincy, Adam Gibson, Robert Copley, John Summers, Dina Dreyer,

Anjanette Biswell, and Unknown Quincy Police Officers (the “Quincy Defendants”), by and

through their counsel ANCEL GLINK, and Gary Farha, James Keller, and the County of Adams

(the “Adams County Defendants”), by and through their counsel SCHMIEDESKAMP,

ROBERTSON, NEU & MITCHELL, LLP, and hereby move for a short extension of time in

which to complete discovery in this case. In support thereof, all parties state as follows:
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        1.         This case has been pending since May of 2017, and since discovery in this case

began, the parties have been working diligently to complete the process. The pace of discovery

completion has been impacted by the wide geographical distances between various witnesses in

the case and between counsel, and has been slowed by counsel’s various trials over the time

discovery has been pending. Despite this, the parties have been working hard and believe they

are close to completing necessary discovery. Nevertheless, the parties do require one additional

extension of time to complete discovery in this case.

        2.         The defendants previously sought one short extension of time for discovery to be

completed (Dckt. No. 58) – on July 9, 2018, Judge Schanzle-Haskins extended the close of fact

discovery to October 1, 2018, and kept all other dates as previously-scheduled. (Text Order, July

9, 2018.) Currently, expert discovery is set to close on April 1, 2019, dispositive motions are due

by June 3, 2019, and there is trial date of October 15, 2019. (Dckt. No. 36.)

        3.         All parties have been deposed in this case (with the exception of the court-ordered

completion of Curtis Lovelace’s deposition), and the parties have conferred about the remaining

depositions and have identified those to be completed and have begun to finalize scheduling.

The parties believe that with an additional extension of time until November 20, 2018, the parties

will complete all fact discovery.

        4.         The parties also propose the following slight adjustments to the expert discovery

schedule, which will allow the parties to keep the previously-set dispositive motions date and

trial dates:

               •   Plaintiffs to disclose experts, including reports, by December 20, 2018. Plaintiff’s

                   experts to be deposed by January 25, 2019.




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            •   Defendants to disclose experts, including reports, by February 22, 2019.

                Defendants’ experts to be deposed by March 29, 2019.

            •   Final close of all discovery by March 29, 2019.

       5.       All parties to this litigation take the Orders of this Court seriously. The parties

recognize that the Court has been generous with the parties in granting them sufficient time to

complete discovery and has granted a prior extension request. The parties are on track to

complete discovery and understand they will need to adhere to the schedule set by this Court.

The parties respectfully assert that because of the particular confluence of events in this case, an

additional is appropriate.

       WHEREFORE, for the foregoing reasons, the parties respectfully request that this Court

extend fact discovery in the manner requested in this motion.

                                       Respectfully submitted,

/s/ Tara Thompson_____________                      /s/ Thomas G. DiCianni
One of Plaintiffs’ Attorneys                       One of Defendants’ Attorneys
Jon Loevy                                          Thomas G. DiCianni
Tara Thompson                                      Ellen K. Emery
LOEVY & LOEVY                                      ANCEL, GLINK, DIAMOND, BUSH,
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(312) 243-5900                                     Chicago, IL 60603
COUNSEL FOR PLAINTIFFS                             (312) 782-7606
                                                   COUNSEL FOR QUINCY DEFENDANTS

                                                   /s/ James A. Hansen_________________
                                                   One of Defendants’ Attorneys
                                                   James A. Hansen, IL Bar #6244534
                                                   Schmiedeskamp, Robertson, Neu
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                                                   COUNSEL FOR ADAMS COUNTY
                                                   DEFENDANTS



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                               CERTIFICATE OF SERVICE


       I, Tara Thompson, an attorney, hereby certify that on September 28, 2018, I filed the
foregoing via the Court’s CM/ECF system and thereby served a copy on all counsel of record.

                                                          /s/ Tara Thompson




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